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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

Lester Dobbey, et al.
                               Plaintiff,
v.                                                 Case No.: 1:19−cv−03272
                                                   Honorable Robert W. Gettleman
Gladyse Taylor, et al.
                               Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, January 11, 2023:


        MINUTE entry before the Honorable Robert W. Gettleman: Video conference
held on 1/11/2023. Plaintiffs appeared by video. Telephonic status hearing set for
2/7/2023 at 10:00 a.m. on the Webex platform. Parties will not be asked to start their
video. Members of the public and media may listen to these proceedings by dialing (650)
479−3207 the meeting number, access code, or PIN/ID is 1809883385. Counsel of record
and other essential case participants will receive an email prior to the start of the hearing
with instructions to join the hearing. Persons granted remote access to proceedings are
reminded of the general prohibition against photographing, recording, and rebroadcasting
of court proceedings. Violation of these prohibitions may result in sanctions, including
removal of court issued media credentials, restricted entry to future hearings, denial of
entry to future hearings, or any other sanctions deemed necessary by the Court. Mailed
notice (cn).




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